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AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

I, Jamaal J. Westby, a Special Agent of the Federal Bureau of Investigation (FBI), San Juan
Division, Saint Croix Resident Agency, being duly sworn, hereby deposes and states that:
1. Affiant is a law enforcement officer of the United States within the meaning of Title 18

United States Code, Section 2510(7), that is, an officer of the United States who is

empowered by law to conduct investigations of and make arrests for offenses enumerated

in Title 18, United States Code.

2. lama Special Agent with the Federal Bureau of Investigation (FBI) and have been since
September 2017. I am currently assigned to the San Juan Division of the FBI, Saint Croix
Resident Agency in Saint Croix, United States Virgin Islands. In my current assignment |
investigate a wide range of matters, including violent crimes such as extortion and
firearm offenses. I have received training in conducting criminal investigations and I
have consulted with my colleagues who have multiple years of experience investigating
violent crimes. Prior to this assignment, I was a sworn Federal Officer with the United
States Customs and Border Protection from 2011 to 2017 where I enforced federal law.

3. Affiant has personally participated in this investigation and the information in this
affidavit has been learned either through personal knowledge or by discussion with other
law enforcement personnel familiar with the facts of this case.

4. This Affidavit is made in support of a criminal complaint charging DELANI
BENJAMIN with violation of Title 18, United States Code, Section 875(c) (Interstate
Communications) and Title 18, United States Code, Section 1951(a) (Interference with
Commerce by Threats or Violence). Because of this Affidavit’s limited purpose of

establishing probable cause, it does not contain all of the facts known to Affiant or other
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law enforcement officers about the investigation, but only those necessary to sustain a
probable cause determination.
FACTS IN SUPPORT OF PROBABLE CAUSE

5. Starting on or about August 12, 2024, Trey Gunning (the VICTIM), received phone calls
and text messages from a blocked number. The phone calls were from an individual (the
SUBJECT) who the VICTIM described as a male voice with a Crucian accent. The
SUBJECT initially told the VICTIM that he needed to pay $5,000 for a drug debt the
VICTIM had. The VICTIM explained SUBJECT he had no drug debt with anyone and
was not involved in drugs. The SUBJECT then told the VICTIM he was hired to kill the
VICTIM but if the VICTIM paid $5,000 the SUBJECT would not harm the VICTIM.

6. On August 13, 2024 at approximately 7:48 a.m. the SUBJECT called the victim and said
“I’m coming for my $5,000 before 8:30 a.m. or I will grab your wife and put her in a fish
bag.” The VICTIM asked who was on the line and the SUBJECT responded “this is your
worker man. I’ma fuck you up.” The VICTIM told the SUBJECT he does not owe
anyone money. The SUBJECT asked the VICTIM “where are you at right now?” The
VICTIM replied “I’m not telling you that” and ended the call.

7. On August 13, 2024 at approximately 8:51 a.m. the SUBJECT called the VICTIM and
told him he was in a maroon car in the parking lot of Galloways Bay and was there to
pick up the $5,000.

8. On August 13, 2024 at approximately 9:21 a.m. the SUBJECT called the VICTIM and
said “I just see a cop car drive past there so I had to drive off, I thought you getting cops

in this shit man....if you getting cops involved in this shit I’ma kill your wife man.”
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9. On August 13, 2024 at approximately 9:28 a.m. the SUBJECT called the VICTIM and
said, “if nine thirty come I’m going for your wife or I’ma shoot up the fucking shop, stop
playing with me.”

10. The calls were followed by text messages in which the SUBJECT threatened the

VICTIM further:

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11. On August 15, 2024 the SUBJECT then texted the VICTIM with instructions to send
$5,000 via PayPal to user name: @hennessy32. The SUBJECT informed the VICTIM he
has been watching him on his balcony. The VICTIM’s residence is not visible from the

street and the VICTIM’S porch is secluded.

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12. The SUBJECT then texted the VICTIM and offered to let the VICTIM live normal again

if the VICTIM paid.
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13. The SUBJECT sent a follow up text message threatening the VICTIM to not get anyone
involved because the SUBJECT had “people in the system.” Based on my training and
experience the SUBJECT is implying that if the VICTIM contacted law enforcement the
SUBJECT would find out because the SUBJECT has contacts that would let him know
if the VICTIM contacted law enforcement. The SUBJECT then sent a photo of the
VICTIM and his spouse and informed the VICTIM “this is the photo they gave me first
before I was on to you guys.” In my training and experience this photo was sent to

intimidate the VICTIM.
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14. The VICTIM owns a business called the Bistro, Coffee and Eatery in Christiansted. The
employees normally begin cooking at the business at approximately 4:30 a.m.

15. On August 15, 2024 at approximately 3:15 p.m. the SUBJECT called the VICTIM and
told the VICTIM he would not be able to open the Bistro in the morning if the SUJECT
did not pay the $5,000. The VICTIM questioned why he would not be able to open the
Bistro. The SUBJECT responded by saying “cause I’ma spray the block and I’ma ker
your wife if I have to”. In my training and experience “spraying the block” means the
SUBJECT is threatening to shoot up the Bistro and “I’ma ker your wife” means the
SUBJECT is threatening to kidnap the VICTIM’s wife. The SUBJECT followed up

later that day with another text message informing the VICTIM he texted the VICTIM’s
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wife via Facebook and he was looking for the VICTIM and if he didn’t find the VICTIM
he would “help you open the shop at6 with the lady in the jeep an it would just be a blood
bath.” The SUBJECT was referring to the VICTIM’s eatery business and an employee of
the VICTIM. In my training and experience the SUBJECT was threatening to hurt the

VICTIM’s employee and affect the commerce of the business.

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16. The SUBJECT then sent a message to the VICTIM’s wife via Facebook threatening the

VICTIM, the VICTIM’s wife and the VICTIM’s boat.

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17. The VICTIM responded via text message and confessed to the SUBJECT he contacted
law enforcement regarding the situation but haven’t received help. The SUBJECT

responded “I know you did that’s why I told you! got connects”.
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18. On August 16, 2024 at approximately 12:53 p.m. an unknown person with a male
sounding voice calling from a blocked number contacted the VICTIM and introduced
himself as Officer Daniels. The VICTIM described the voice as being similar to the
SUBJECT and the blocked number was similar to what the SUBJECT did. The
unknown individual informed the VICTIM the police department would not be able to
help the VICTIM because the VICTIM’s complaint is “out of our jurisdiction...we can’t
really help you. Whatever you did to those guys you gotta take it up with the streets.”

19. On August 16, 2024 the VICTIM came to the FBI office in Saint Croix and met with law
enforcement officers. Law enforcement officers asked the VICTIM to schedule a time for
the SUBJECT to pick up money from the VICTIM’s vehicle at Altoona Lagoon Park

when the SUBJECT contacted the VICTIM again. After the VICTIM departed from the
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FBI office the VICTIM received a call from the SUBJECT. The VICTIM expressed
frustration with the situation and told the SUBJECT he wanted to pay the SUBJECT
and end the situation. The SUBJECT agreed and told the VICTIM to wait for his call.
On August 16, 2024 at approximately 1:50 p.m., law enforcement officers set up
surveillance at the Altoona Lagoon Park.

On August 16, 2024 at approximately 1:52 p.m. the SUBJECT contacted the VICTIM
and instructed the VICTIM to go to KFC across from GMAX gas station with the money.
The VICTIM declined. The SUBJECT told the VICTIM to go to the GMAX gas station
with the money, the VICTIM declined again. The VICTIM told the SUBJECT he does
not want to meet him or know who he is. The VICTIM further told the SUBJECT to pick
a place close to Gallows Bay and the VICTIM would be willing to leave money in his
parked vehicle.

On August 16, 2024 at approximately 1:58 p.m. the SUBJECT called the VICTIM and
agreed to pickup money from the VICTIM’s vehicle which would be parked at Altoona
Lagoon Park. The VICTIM told the SUBJECT the vehicle would be parked on a dirt
road in the vicinity of the exercise equipment at Altoona Lagoon Park and the money
would be in a pink bank bag which was under an Amazon box in the camper of the
VICTIM’s truck. At approximately 2:21 p.m. the SUBJECT contacted the VICTIM and
asked if the VICTIM was picked up by a gray truck. The VICTIM confirmed. The
SUBJECT warned the VICTIM “if there’s any funny movement you’re on the line”.

On August 16, 2024 at approximately 3:08 p.m. the SUBJECT contacted the VICTIM to
confirm what his vehicle looked like and where it was parked. The VICTIM provided a

description and location of the vehicle.

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On August 16, 2024 at approximately 3:15 p.m. law enforcement officers observed the
SUBJECT attempting to open the camper of the VICTIM’s vehicle. After unsuccessful
attempts to open the vehicle, the SUBJECT was observed on his cellular phone.

On August 16, 2024 at approximately 3:16 p.m. the SUBJECT contacted the VICTIM
and expressed frustration regarding not being able to open the VICTIMS’s vehicle.

On August 16, 2024 at approximately 3:25 p.m. law enforcement officers observed the
SUBJECT return a second time to the VICTIM’s vehicle and attempted to open the
camper again. The SUBJECT again departed in the white jeep bearing license plate CIG
691 after more unsuccessful attempts to open the vehicle.

On August 16, 2024 at approximately 3:28 p.m., the SUBJECT contacted the VICTIM
and said “you go pick it up because I can’t get it open. You just take it out and put it right
there next to your truck.” The VICTIM declined and provided detailed instructions on
how to open the vehicle. Again, law enforcement officers observed the SUBJECT on his
cell phone at the same time he is calling the VICTIM.

On August 16, 2024 at approximately 3:32 p.m. law enforcement officers observed the
SUBJECT return to the VICTIM’s vehicle in the white jeep bearing license plate CIG
691. The SUBJECT approached the VICTIM’s camper and opened it. The SUBJECT
appeared to move things around in the camper. The SUBJECT then returned to the white
jeep bearing license plate CIG 691.

Law enforcement officers placed the SUBJECT in custody and identified him as
DELANI BENJAMIN (“BENJAMIN”). While being placed in custody BENJAMIN
told law enforcement officers someone told him to come pick up something from the

vehicle. However, as noted above, BENJAMIN was observed by law enforcement

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speaking with the VICTIM while at the scene attempting to retrieve the money from the
VICTIM’S vehicle. Per the VICTIM, the man speaking to him then, was the same
individual speaking to him on the phone while making all of the prior threats.

A K-9 unit alerted to BENJAMIN’s vehicle. Law enforcement officers recovered an
unlicensed firearm from BENJAMIN’s vehicle.

Law enforcement officers read BENJAMIN his rights and attempted to conduct an
interview. BENJAMIN declined to be interviewed but reiterated someone called him and
asked him to go pick up a package. “I know this doesn’t look good.”

The telephone calls and texting between BENJAMIN and the VICTIM constitute
interstate communications as there are no cellular companies based in the Virgin Islands.
Additionally, the Bistro, Coffee and Eatery, engages in interstate commerce by
purchasing various food and beverage products that are not grown, produced, and/or
manufactured in the Virgin Islands, but rather are shipped into the Virgin Islands from

various state-side and/or international locations.

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CONCLUSION

Based on the foregoing information, this Affiant affirms that there is probable cause to
believe that DELANI BENJAMIN committed the following crimes:
e Title 18, United States Code, Section 875(c) (Interstate Communications); and

e Title 18, United States Code, Section 1951(a) (Interference with Commerce by Threats or

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Jamaal JAWestby
Special Agent
Federal Bureau of Investigation (FBI)

Violence).

Subscribed and sworn to before me this 19" day of August 2024.

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—S

Honorable Emile A. Henderson III
United States Magistrate Judge
District of Virgin Islands

